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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

ADELA AGUIRRE,

 Plaintiff,
                                             CASE NO.: 6:16-CV-01567-GKS-GJK
-vs-

SANTANDER CONSUMER USA, INC.,

 Defendant.
                                  /


              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, Adela Aguirre, and the Defendant, Santander

Consumer USA, Inc., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to

dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendant in the above styled action, with Plaintiff and Defendant to bear their own

attorney’s fees, costs and expenses.

       Respectfully submitted this 27th day of January, 2017.



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